DATE: December 6, 2022


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Diallo Olumnminji Turner
             v. Commonwealth of Virginia
             Record No. 1103-21-2
             Opinion rendered by Judge Beales on
              September 20, 2022

          2. Devonza A. Johnson, s/k/a, etc.
             v. Commonwealth of Virginia
             Record No. 1122-21-3
             Opinion rendered by Judge Raphael on
              September 20, 2022

          3. Craig Carnell Maryland
             v. Commonwealth of Virginia
             Record No. 0254-22-2
             Opinion rendered by Judge White on
              September 20, 2022

          4. Eva Carol Belcher
             v. Commonwealth of Virginia
             Record No. 0945-21-3
             Opinion rendered by Judge Friedman on
              September 27, 2022

          5. Danjuan Antonio McBride
             v. Commonwealth of Virginia
             Record No. 1354-21-4
             Opinion rendered by Judge Lorish on
              October 4, 2022

          6. Andrew Joseph Haefele
             v. Commonwealth of Virginia
             Record No. 0508-21-2
             Opinion rendered by Judge Beales on
              October 18, 2022
7. Anthony PatrickWashington
   v. Commonwealth of Virginia
   Record No. 1256-21-2
   Opinion rendered by Chief Judge Decker on
    October 18, 2022
   The following case in which the Court of Appeals issued a published opinion has been
disposed of by the Supreme Court:

1. Gregory Leon Hammer
   v. Commonwealth of Virginia
   Record No. 0819-20-3
   Opinion rendered by Judge Raphael
    on January 18, 2022
     Refused (220169)
